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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


VENUS EDWARDS,                        )
                                      )
     Plaintiff,                       )
                                      )           CIVIL ACTION NO.
     v.                               )             2:19cv238-MHT
                                      )                  (WO)
ALABAMA DEPARTMENT OF                 )
TRANSPORTATION,                       )
                                      )
     Defendant.                       )

                                 OPINION

    Plaintiff         filed     this       lawsuit     asserting       that

defendant violated Title VII of the Civil Rights Act of

1964 by failing to hire her, failing to promote her,

and retaliating against her based on her race, color,

and gender/sex in the mid-1990s.                   This lawsuit is now

before the court on the recommendation of the United

States    Magistrate     Judge      that        defendant’s    motion    to

dismiss    be     granted     and        that    plaintiff’s    case     be

dismissed.            There     are       no      objections    to      the

recommendation.          After      an    independent     and   de     novo

review    of    the   record,    the      court    concludes    that    the
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magistrate judge’s recommendation should be adopted.

    An appropriate judgment will be entered.

    DONE, this the 19th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
